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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                    CASE NO: ?_ o _ V\,\J ~ O   ?3CJ~ - lor?.,us
 UNITED STATES OF AMERICA

 v.

 ,A(,~ fu VC1 /(aJc,H'J (J /re e (..__
  _____________ !

                    WAIVER OF PRELIMINARY EXAMINATION
             AND EXCLUSION OF TIME UNDER THE SPEEDY TRIAL ACT

      The defendant, having been advised of his right to a preliminary
 hearing or examination as to probable cause, and the defendant,
 having refused and waived a preliminary examination,
      The defendant now signs this Waiver of Preliminary Examination
 through ~'-'OV'( {).6 ,;;.._ cJ J , and agrees that thi  time will be
 excluded from the computation of the time within     ich an · nd · c
 or information must be filed, under 18 U.S.C                  6


  DATED:    l O (°' I /Budd              Defendant:


                         MAGISTRATE JUDGE'S CERTIFICATE

       The undersigned United States Magistrate Judge certifies that
  the defendant, after being advised of his right to a preliminary
  examination,  stated he refused and waived such preliminary
  examination and signed the foregoing Waiver of Preliminary
  Examination.
       IT IS ORDERED that a preliminary examination in the
  above-entitled matter is waived through     1/26/21
  and based upon interests of justice, this time is excluded from the
  computation of the time within which an indictment or information
  must be filed under the ,speedy Trial Act, 18 U.S.C. Section 3161.



  Dated:    10/22/20
                                                   ALICIA M. OTAZO-REYES
                                              UNITED STATES MAGISTRATE JUDGE

                                         At MIAMI, FLORIDA
